Case 1:05-cv-01094-.]DT-STA Document 7 Filed 07/19/05 Page 1 of 2 Page|D 16

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IN THE UNlTED sTATEs nlsTRiCT CoURT FoR THE WEST€§§ §§ §§

DISTRICT OF 'I`ENNESSEE, EASTERN I)IVISION AT JACKSON 0( /

 

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LARRY GoDWIN and LI_NDA GODWIN, /,1,=',@/59 w
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Piainu'ffs, /f/ /`

vs. No.: 1:05-] 094-T

JURY DEMAN DED
BOYD R. LAMB and LAND OF
FROST, INC.,

\_/\_/\./\_w\.,/\._/\_/\../\_/\.,r

Defendants.

 

ORDER REFERRING CASE TO MAGISTRATE JUDGE FOR
SETTLEMENT CONFERENCE

 

Both Parties being in agreement and good cause being shown to waive the local rule requiring
private mediation prior to a settlement conference, this Court refers this case for a settlement
conference to be conducted by Magistrate S. Thornas Anderson.

IT IS SO ORDERED.

Entered this t q ";Iay of July, 2005.

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Hoi\%l&ABLE JAMES 1). ToDD
UNI 1) sTATEs DIsTRICT JUDGE

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Honorable J ames Todd
US DISTRICT COURT

